  Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 1 of 8 PageID #:24083




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOSE JUAN MAYSONET, JR.                                  )
                                                         )
                        Plaintiff,                       )
                                                         )
        v.                                               )       Case No. 18-CV-2342
                                                         )
REYNALDO GUEVARA, ET AL.                                 )       District Judge Mary M. Rowland
                                                         )       Magistrate Judge Keri L. Holleb
                        Defendants.                      )

______________________________________________________________________________

PLAINTIFF'S MOTION TO SUSPEND SUMMARY JUDGMENT BRIEFING IN LIGHT
 OF THE CITY'S DISCLOSURE LAST WEEK OF THE ACTUAL INVESTIGATIVE
                         FILE IN THIS CASE

        NOW COMES, Plaintiff JOSE JUAN MAYSONET, JR., by and through his counsel the

BONJEAN LAW GROUP and the GREENBERG TRIAL LAWYERS, and respectfully brings

this motion to suspend summary judgment briefing in light of the Defendant City of Chicago's

disclosure of the investigative file in this case produced last week, over six years late. It would

appear that the City produced a parallel file (street-file, area-file, running-file) to Plaintiff at the

start of this litigation rather than the actual investigative file. The belated disclosure, which will

invariably result in driving up the cost of this litigation, is a serious discovery violation for which

Plaintiff reserves the right to seek sanctions.

        The City agrees that summary judgment must be suspended, and that fact and expert

discovery will have to be re-opened (although the scope of discovery is still up for dispute). That

said, Plaintiff strongly objects to any continuance of the trial in this case and will seek to

expedite any additional discovery that needs to be completed because of the City's discovery

violation. Plaintiff does not expect he will have to conduct expansive additional discovery and
    Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 2 of 8 PageID #:24084




seeks a modified scheduling order detailed in his prayer for relief. Plaintiff would also welcome

an immediate telephone status conference with the Court.

                                              PERTINENT FACTS

         Plaintiff filed his Complaint in this case on April 1, 2018. He alleges, inter alia, that he

was wrongfully arrested and prosecuted in 1990 for the double homicide of two men from

Garfield Park, the Wiley brothers. Plaintiff raised a myriad of claims against the individual

Defendant Officers, including Brady claims. Plaintiff also alleged various Monell theories of

liability, including that the City has a policy and practice of suppressing exculpatory and or

impeaching evidence. The Defendant City denies that it had any such practice notwithstanding

that two separate federal juries held otherwise in the cases of Fields v. Chicago, No. 10 C 1168

(N.D. Ill.) and Rivera v. Guevara, No. 12 V 4428 (N.D. Ill.)1

         The Defendant City made initial disclosures in this case on August 20, 2018, and

produced two files associated with the Wiley brothers' homicide investigation. One of the files

purported to be an "investigative file," and one purported to be the permanent retention file.

According to the Defendant Officers, the investigative file is a comprehensive file that typically

contains, inter alia, an investigatory inventory log, all case reports, and general progress reports.

The investigative file that was produced as part of the initial disclosures was suspiciously slim,

consisting of only 66 pages. It did not contain an investigatory inventory log, any general




1
          Plaintiff has moved for summary judgment on this theory, arguing that collateral estoppel precludes the
Defendant City from relitigating this Monell theory in light of the Fields and Rivera verdicts - investigations that
occurred during the same time-period as this case. Plaintiff is asking this court to preclude re-litigation of the well-
settled issue that the City had an official policy or practice of suppressing exculpatory material, just as Judge
Lefkow did in Kluppelberg v. Burge, 276 F. Supp. 3d 773, 776 (N.D. Ill. 2017). In Kluppelberg, Judge Lefkow
entered her ruling based entirely on the Fields decision. Here, Plaintiff can now point to two separate verdicts that
should put this issue to rest, namely that the City did have an official policy or practice of suppressing exculpatory
evidence in 1990. The City should not get a third bite at this apple.


                                                            2
   Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 3 of 8 PageID #:24085




progress reports, or other case reports that Plaintiff would have expected to be contained in the

file.

        During discovery, the City agreed that it was not a complete file and blamed its apparent

incompleteness on the age of the case. The Cook County State's Attorney's file contained certain

documents that were not in the "investigative file" that was produced by the City. The City did

not offer much of an explanation for its production of a 66-page file and did not take the position

that the file it produced was a parallel file. During depositions of the Defendant Officers, they

generally claimed that the investigative file was incomplete and insisted that they prepared GPRs

for certain critical investigative events but that the file was incomplete because of the age of the

case. Simply put, no one could explain why the file did not contain any GPRs.

        Undersigned counsel was suspicious of these explanations and issued a second set of

interrogatories to the City in November 2019, attempting to discover if the file produced was

actually the investigative file, what efforts were made to confirm it was the file, and where other

reports might be that were not in the file. [Exhibit A - Plaintiff's Second Set of Interrogatories

with City's Answers] Generally, undersigned counsel sought to determine whether the produced

file was, in fact, the "investigative file," an incomplete "investigative file," or some other file.

For example, Plaintiff asked such questions as:

    •   Rog No. 4: Do you contend that the documents produced by the Defendant City bearing
        batestamp RFC -Maysonet 000001-000066 constitute the "Investigative File" associated
        with RD234247

    •   Rog No. 5: Do you contend that the documents produced by the Defendant City bearing
        batestamp RFC -Maysonet 000001-000066 constitute the "Investigative File" associated
        with murder investigation of Kevin and Torrence Wiley.

    •   Rog No. 7: Do you contend that any reports, writing or documents prepared in connection
        with the Chicago Police Department's investigation of the murders of Torrence and Keving
        Wiley have been kept, held, maintained in any file other than the "Investigative File" or the
        "Permanent Retention File" since the case was cleared and closed?



                                                   3
  Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 4 of 8 PageID #:24086




   •   Rog No. 2: Identify each and every location where the Chicago Police Department
       currently keeps, stores, or maintains any reports, documents, or materials prepared in
       connection with the Chicago Police Department's investigation of the murders of Torrence
       and Kevin Wiley? Specify who took what actions and when those actions were taken. [Ex.
       A]

       The City responded in December 2019 and generally objected to the interrogatories as

premature and further on the bases that Plaintiff had no right to conduct "discovery on

discovery." [Ex. A] The City stated that it did not believe the file was the "investigative file" but

continued to represent that its "Investigation Continues." The City never amended its Answers

to Plaintiff's Second Set of Interrogatories prior to the close of fact discovery or produced any

additional reports or files that were not contained in the 66-page file that was produced at the

start of the litigation. The City never offered any explanation for either the absence of the

investigative file or identified the origins of the file that was produced.

       Six years later, after the close of fact discovery, after the close of expert discovery, and in

the middle of summary judgment briefing, the City claims it discovered the real investigative file

in the "warehouse." The City claims that it found the file as a result of an interrogatory

propounded to them by Plaintiff's criminal co-defendant via his lawyers Loevy & Loevy.

[Exhibit B - Gonzalez Interrogatory] The file that the City now claims is the investigative file

was produced for the first time on July 20, 2024. It is over 500 pages long, but still does not

contain GPRs or reports that Plaintiff would expect to be contained in the file.

                                           ARGUMENT

       Unfortunately, Plaintiff must now ask this Court to suspend summary judgment briefing.

The Defendant City agrees that summary judgment briefing must be suspended. The City also

agrees "in principle" that discovery must be re-opened but reserves its right to object to the scope

of discovery. Plaintiff clearly shows good cause for his request in light of the very belated




                                                   4
    Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 5 of 8 PageID #:24087




disclosure of arguably the most important set of documents that exist in any § 1983 case alleging

constitutional claims leading to a wrongful conviction. Fed. R. Civ. P. 16(b)(4).

        First, and perhaps the most obvious, that Plaintiff was initially provided a file that was

neither the investigative file nor the permanent retention file establishes rather definitively that

the Chicago Police Department did maintain parallel files in 1990. This evidence is certainly

relevant to Plaintiff's Monell claim against the City concerning the policy and practice of

concealing exculpatory evidence and relevant to the Brady claims brought against the Defendant

Officers. Plaintiff's expert will unquestionably seek to consider this development and review the

actual investigative file and amend his expert report as necessary.

        Second, the newly discovery investigative file is still devoid of GPRs and reports that

should exist based on known facts. Unless the City is going to take the position that there are

even more parallel files out there, the absence of these documents in the actual investigative file

allows Plaintiff to allege undisputed facts relevant to his motion for summary judgment on

Plaintiff's Brady claim against the Defendant Officers. The absence of these documents from the

500-page investigatory file debunks the testimony of the Defendant Officers who claimed that

they did prepare GPRs, but they were simply missing due to the age of the case.2

        Third, Plaintiff must be permitted to conduct additional discovery on how and why the

investigatory file was not produced at the start of this litigation and what exactly is the file that

was produced. Again, this evidence is all relevant to Plaintiff's Monell theory that the City

maintained a policy and practice that allowed police officers to conceal exculpatory material.




2
        The existence or non-existence of GPRs is also material to Plaintiff's fabrication of evidence claim where
the Defendant Officers fabricated false oral statement of the Plaintiff, claiming that they memorialized those
statements in a GPR that have yet to materialize anywhere, including in the newly produced investigative file.


                                                         5
  Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 6 of 8 PageID #:24088




         Although Plaintiff does not seek sanctions presently, Plaintiff reserves his right to do so

in light of the additional cost and delay this belated discovery will cause. Plaintiff has acted with

due diligence since the start of this litigation. Indeed, Plaintiff conducted discovery at the

beginning of this litigation, attempting to get to the bottom of the missing "investigatory file."

The City objected and generally refused to answer relevant questions, insisting that it would

continue its investigation. Although the City claims that the interrogatory propounded by

Plaintiff's criminal co-defendant Alfredo Gonzalez (attached as Exhibit B) prompted the

discovery of the investigative file, that explanation is rubbish. Gonzalez's interrogatory does not

propound a question any different than those propounded by Plaintiff in his initial Requests to

Produce and in his Second Supplemental Interrogatories to the City. If the City could find the file

as a result of Gonzalez's interrogatory there is no excuse for its failure to produce it to Plaintiff

earlier, particularly after Plaintiff propounded his Second Set of Interrogatories in 2019 (Exhibit

A).

         Plaintiff has not determined precisely what type of additional discovery must be

conducted, but at a minimum, Plaintiff's expert must be permitted to review the file and amend

his report and/or provide a supplemental report; Plaintiff must be permitted to issue additional

written discovery and conduct a Rule 30(b)(6) deposition relating to the maintenance of Area 5

investigative files, including this one; and Plaintiff may have to re-depose (in a limited fashion)

certain Defendant Officers although he does not expect to have to re-depose all of them. Plaintiff

believes that this supplemental discovery can be conducted within 45 days with the City's

cooperation. Plaintiff would also welcome an immediate telephone status conference with the

Court.




                                                   6
  Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 7 of 8 PageID #:24089




         WHEREFORE, Plaintiff asks this Court to enter the following modified scheduling

Order:

         (1)    to suspend summary judgment briefing;

         (2)    to reopen discovery until September 16, 2024, to allow Plaintiff to amend his

expert report; take a 30(b)(6) deposition; and conduct any additional written discovery (including

requiring the City to Answer Plaintiff’s Second Set of Supplemental Interrogatories, and/or to

conduct any additional depositions related to the disclosure of the investigative file;

         (3)    leave to inspect any and all locations where Area Five investigatory files or

parallel investigative files are stored depending on information learned during the Rule 30(b)(6)

deposition.

         (4)    to require the Defendants to answer Plaintiff's supplemental discovery requests to

meet the September 16, 2024, deadlines;

         (5)    to permit Plaintiff to re-file his motion for summary judgment to the extent

necessary by September 30, 2024. Oppositions due within 14 days on October 14, 2024, and any

replies on October 28, 2024.

         (6)    to maintain the remainder of the scheduling order.

                                                      Respectfully Submitted,
                                                      PLAINTIFF JOSE MAYSONET

                                                      By:     /s/Jennifer Bonjean
                                                      One of Plaintiff’s attorneys

                                                      Jennifer Bonjean
                                                      Ashley Cohen
                                                      Bonjean Law Group, PLLC
                                                      303 Van Brunt Street, 1st Fl
                                                      Brooklyn, New York 11231
                                                      718-875-1850
                                                      Jennifer@bonjeanlaw.com

                                                      Chicago Office:
                                                      Bonjean Law Group, PLLC


                                                  7
Case: 1:18-cv-02342 Document #: 377 Filed: 08/05/24 Page 8 of 8 PageID #:24090




                                          53 W. Jackson Blvd., Ste. 315
                                          Chicago, Illinois 60604

                                          Steve Greenberg
                                          GREENBERG TRIAL LAWYERS
                                          Attorneys and Counselors
                                          53 W. Jackson Blvd., Suite 315
                                          Chicago, IL 60604
                                          (312) 399-2711




                                      8
